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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 U.S. BANK N.A., AS TRUSTEE FOR THE
                                 §
 REGISTERED HOLDERS OF MASTR     §
 ASSET BACKED SECURITIES TRUST,  §
 2006-AM1,     MORTGAGE       PASS-
                                 §
 THROUGH CERTIFICATES, SERIES    §
 2006-AM1                        §
                                 §
     Plaintiff,                  §                       Civil Action No. 4:22-cv-3499
                                 §
 v.                              §
                                 §
 VENISSA FORD A/K/A VENISSA      §
 MOSLEY, JASON MOSLEY, QUINTEN §
 TYLER, CHERYL AHAMBA, BERNAL §
 LINDSEY, BERMOINE LINDSEY, JR., §
 DESTINY ROSS, JERMOINE LINDSEY, §
 ELAINE JACKSON A/K/A ELAINE     §
 JACKSON LINDSEY, AS NEXT-       §
 FRIEND OF A.L., A MINOR, ADRAIN §
 LINDSEY, MARCUS LINDSEY, AND    §
 DIANA LINDSEY                   §
                                 §
     Defendants.                 §


                    PLAINTIFF’S MOTION TO CONTINUE INITIAL
                      PRETRIAL SCHEDULING CONFERENCE

       COMES NOW, U.S. Bank N.A., As Trustee for the Registered Holders of MASTR Asset

Backed Securities Trust, 2006-AM1, Mortgage Pass-Through Certificates, Series 2006-AM1

(“U.S. Bank” or “Plaintiff”), and files this Motion to Continue Initial Pretrial Scheduling

Conference (“Motion”) and shows unto the Court as follows:

       1.     Plaintiff filed its First Amended Complaint (“Complaint”) on December 7, 2022,

against Venissa Ford a/k/a Venissa Mosley; Jason Mosley; Quentin Tyler; Cheryl Ahamba; Bernal

Lindsey; Bermoine Lindsey; Jr.; Destiny Ross; Jermoine Lindsey; Elaine Jackson, as next-friend



PLAINTIFF’S MOTION TO CONTINUE INITIAL PRETRIAL SCHEDULING CONFERENCE
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of A.L., a minor; Adrain Lindsey; Marcus Lindsey; and Diana Lindsey (“Defendants”). [ECF Doc.

No. 6.]

          2.   On December 9, 2022, a Summons was issued on all Defendants [ECF Doc No. 7.]

          3.   On December 20, 2022, Defendant Venissa Ford a/k/a Venissa Mosley was served;

and on January 11, 2023, Plaintiff filed a copy of the executed Summons. [ECF Doc. No. 10].

          4.   Defendant Venissa Ford a/k/a Venissa Mosley has not responded or otherwise

appeared in this matter. The deadline for Defendant Venissa Ford a/k/a Venissa Mosley to respond

was January 10, 2023.

          5.   Plaintiff is preparing a Motion for Clerk’s Entry of Default against Defendant

Venissa Ford a/k/a Venissa Mosley and a Motion for Default Judgment against Defendant Venissa

Ford a/k/a Venissa Mosley to be filed with this Court.

          6.   Defendants Jason Mosley; Quentin Tyler; Cheryl Ahamba; Bernal Lindsey;

Bermoine Lindsey; Jr.; Destiny Ross; Jermoine Lindsey; Elaine Jackson, as next-friend of A.L., a

minor; Adrain Lindsey; Marcus Lindsey; and Diana Lindsey are in the process of being served.

Plaintiff is awaiting the returns of executed Summons on each of the foregoing Defendants.

          7.   Plaintiff respectfully requests a continuance of the initial pretrial scheduling

conference in order for Plaintiff to file its Motion for Clerk’s Entry of Default against Defendant

Venissa Ford a/k/a Venissa Mosley and a Motion for Default Judgment against Defendant Venissa

Ford a/k/a Venissa Mosley, and for Plaintiff to perfect service on process on Defendants Jason

Mosley; Quentin Tyler; Cheryl Ahamba; Bernal Lindsey; Bermoine Lindsey; Jr.; Destiny Ross;

Jermoine Lindsey; Elaine Jackson, as next-friend of A.L., a minor; Adrain Lindsey; Marcus

Lindsey; and Diana Lindsey.




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        8.      The requested continuance is not sought for purposes of delay, but so that justice

may be done.

                                                PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Court grant this

Motion to continue the initial pretrial scheduling conference to allow for Plaintiff to file its motion

for default judgment against Defendant Venissa Ford a/k/a Venissa Mosley, and for Plaintiff to

perfect service on process on Defendants Jason Mosley; Quentin Tyler; Cheryl Ahamba; Bernal

Lindsey; Bermoine Lindsey; Jr.; Destiny Ross; Jermoine Lindsey; Elaine Jackson, as next-friend

of A.L., a minor; Adrain Lindsey; Marcus Lindsey; and Diana Lindsey. Plaintiff further requests

all other relief to which it may be entitled.

                                                       Respectfully submitted,

                                                   By: /s/ Sarah Sibley Cox
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